Case 5:03-cV-Ol477-C Document 3 Filed 10/23/03 Page 1 of 2

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UN]TED STATES DISTRICT COURT
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SUMONS IN A CIVIL CASE

DLLA\~¥P)MA C,®RPO[LAT \@,\\ CASEN\JMBER;
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TO: (Name md address off)¢fmdan¢)

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OKLAHP>MA CM\{‘ 014 73ng

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S A'I`TOR_NEY (name and adm)

Pp<MeLA D. Lqé ,Praogg
?O\ N.\U. ’lTH ST.
©|LL/¢\rHGl/IAA ('/L'CY‘ (O(L ’T_?>/@Lj

an answer to the complaint Which is herewith served upon you, within ;L 0 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

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discretion then residing therein.
blame of person with whom the summons and complaint wm left

 

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STATEMENT 017 SERVICE FEES

 

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DECLARATION OF SERVER

 

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